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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 01-885-CR-MIDDLEBROOKS

   UNITED STATES OF AMERICA

   vs.

   JOSE LUIS BERMUDEZ,
                    Defendant.
   _ _ _ _ _ _ _ _ _ _ _ _ _ _!


                                      ORDER OF DISMISSAL

          Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

   endorsed hereon, the United States Attorney for the Southern District of Florida hereby dismisses

   with prejudice the indictment against defendant JOSE LUIS BERMUDEZ, in the above-

   referenced case.




          Leave of Court is granted for the filing of the foregoing Dismissal.


          DATE: - - - --
                                                HONORABLE DONALD MIDDLEBROOKS
                                                UNITED STATES DISTRICT JUDGE
